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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OKLAHOMA

  1. TIM KIRK and
  2. TRACY KIRK,
  Individually and as Husband and wife,

                                  Plaintiffs,

                                                       CASE NO.

  3. CATLIN SPECIALITY INSURANCE
  COMPANY, a foreign insurance
  Corporation,

                                  Defendant.

                               NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §1446 and LCvR 81.2, Defendant, Catlin Specialty

  Insurance Company ("Catlin"), hereby files this Notice of Removal. In support of

  this Notice of Removal, Catlin states as follows:

        1.    Plaintiffs brought an action against Catlin in Case No. CJ-2018-740

  filed in the District Court of Tulsa County, State of Oklahoma styled Tim Kirk and

  Tracy Kirk, Individually and as Husband and Wife, Plaintiffs v. Catlin Specialty

  Insurance Company, a Foreign Insurance Corporation, Defendant."

        2.    Plaintiffs' Petition was filed on February 20, 2018.           Service of

  Summons was accomplished on Catlin on March 15, 2018.

        3.    The Petition filed by Plaintiffs alleges the value of the Plaintiffs' claims

  exceeds $75,000.00, and the amount necessary for removal to Federal Court.
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        4.     This Court has original jurisdiction over this case pursuant to 28

  U.S.C. §1332, and the case is one which may be removed to this Court by Catlin

  pursuant to the provisions of 28 U.S.C. §1441. Complete diversity of citizenship

  exists between Plaintiffs and Defendant. Plaintiffs are citizens and residents of the

  State of Oklahoma. Defendant Catlin is a foreign corporation with its principal

  place of business located in New York.

        5.     Removal is appropriate in this matter because complete diversity

  exists between Plaintiffs and the Defendant, and the Plaintiffs seek an amount

  greater than $75,000.00, as required by 28 U.S.C. §1332.

        6.     This Notice of Removal is timely filed under the provisions of 28

  U.S.C. §1446(b), in that it is filed within the time limits required by the Federal

  Rules of Civil Procedure. Service was accomplished by serving Catlin on March

  15, 2018.

        7.     Pursuant to 28 U.S.C. §1446 and LCvR 81.2, copies of all process,

  pleadings served upon Catlin, the filings of the parties, together with a copy of the

  docket sheet from the Tulsa County District Court, are attached hereto as Exhibits

  "1" through "5".

        8.     Catlin states that no motions are pending before the State Court at

  the time of removal.

        9.     Contemporaneously with this filing, Catlin will file a Notice of Filing

  Notice of Removal on Plaintiffs' counsel and the Court Clerk of the District Court

  of Tulsa County, Oklahoma.

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        WHEREFORE,         premises     considered,    Catlin   Specialty    Insurance

  Corporation respectfully requests that this Court remove the instant case from the

  District Court of Tulsa County, State of Oklahoma, to the District Court of the United

  States for the Northern District of Oklahoma.



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                                         ATTORNEYS FOR DEFENDANTS,
                                         CATLIN SPECIALTY INSURANCE
                                         CORPORATION




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 30th day of March, 2018, a true and correct copy of
  the above and foregoing document was electronically transmitted to the Clerk of the
  Court using the ECF System for filing and transmittal of a Notice of Electronic Filing to
  the following ECF registrants:



                Joseph F. Bufogle, Sr.                     jfbufogleCD-msn.com




                                              J. Mark McAlester




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